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                      EXHIBIT 24
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                                                                -                                                                   3

           IN THE UNITED STATES DISTRICT COURT                       1             INDEX
                                                                     2    WITNESS: GARY WAYNE BIGGS, SR.
            FOR THE DISTRICT OF MASSACHUSETTS                        3          INDEX OF EXAMINATIONS
                                                                     4
       IN RE: NEURONTIN MARKETING, SALES )CASE NO.
                                                                                                   Page/Line
       PRACTICES AND PRODUCTS LIABILITY )04-10981                    5
                                                                          Examination by Mr. Evans       06 04
       LITIGATION                   )                                6    Examination by Mr. Soh        59 11
                                                                          Examination by Mr. Evans       73 05
                              )                                      7    Certificate              75 01
                                                                          Errata Sheet              76 01
                              )                                      8
                                                                     9
       THIS DOCUMENT RELATES TO:                    )
                                                                                    INDEX OF EXHIBITS
                              )                                      10
                                                                          No. 1                       15   17
       RUTH SMITH, Individually and as           )05-CV-11515        11   No. 2                       17   06
                                                                          No. 3                       29   07
       Widow for the use and benefit of )                            12   No. 4                       46   17
                                                                          No. 5                       46   17
       herself and the next of kin of    )                           13   No. 6                       51   08
                                                                          No. 7                       64   05
       Richard Smith, deceased.              )
                                                                     14
       ___________________________________)                          15
                                                                     16
              VIDEOTAPED DEPOSITION OF:                              17
                                                                     18
                GARY WAYNE BIGGS, SR.                                19
                                                                     20
            Taken on behalf of the Defendant                         21
                                                                     22
                 February 8, 2008
                                                                     23
       _______________________________________________               24
                                                                     25



                                                                2                                                                   4

   1   APPEARANCES:                                                  1       The videotaped deposition of GARY WAYNE
   2                                                                 2    BIGGS, SR., taken on behalf of the Defendant,
       For the Plaintiff:
   3                                                                 3    on the 8th day of February, 2008, in the
       KENNETH S. SOH, ESQUIRE                                       4    offices of Medical Forensics, 850 R.S. Gass
   4   Lanier Law Firm
                                                                     5    Boulevard, Nashville, Tennessee, 37216, for all
       6810 F.M. 1960 West
   5   Houston, Texas 77069                                          6    purposes under the Federal Rules of Civil
       (713) 659-5200                                                7    Procedure.
   6   713) 659-2204
                                                                     8       The formalities as to notice, caption,
       kss@lanierlawfirm.com
   7                                                                 9    certificate, et cetera, are waived. All
   8   For the Defendant:                                            10   objections, except as to the form of the
   9   CEDRIC E. EVANS
                                                                     11   questions, are reserved to the hearing.
       Clark, Thomas & Winters
  10   P.O. Box 1148                                                 12      It is agreed that Deborah J. Harris, being
       300 West 6th Street, 15th Floor                               13   a Notary Public and Court Reporter for the
  11   Austin, Texas 78701
       (512) 472-8800                                                14   State of Tennessee, may swear the witness, and
  12   (512) 474-1129                                                15   that the reading and signing of the completed
       cce@ctw.com
                                                                     16   deposition by the witness are reserved.
  13
  14   Also Present: Amanda Martin, Videographer                     17
  15                                                                 18
  16
                                                                     19
  17
  18                                                                 20                * * *
  19                                                                 21
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  22                                                                 23
  23                                                                 24
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  25                                                                 25




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   1      Q     How do you know that?                          1    as opposed to this needs to be more in depth,
   2      A     Even though I didn't sign it, I know           2    when you talk about the report of the County
   3   it because the computer generates my name as            3    Medical Examiner.
   4   Gary Biggs. I go in there and manually change           4       Q     So is the thought that the report of
   5   it to Gary W. Biggs, Sr.                                5    the County Medical Examiner was going to end up
   6            MR. SOH: You are OCD.                          6    with the family?
   7      A     I never lie. At least I try not to.            7       A     If they request it.
   8            (COURT REPORTER ASKS EVERYONE TO               8       Q     So you're more -- a little bit more
   9      SPEAK UP.)                                           9    selective about the information that you put in
  10            (DISCUSSION WAS HAD OFF THE RECORD.)           10   there?
  11   BY MR. EVANS:                                           11      A     Yes, sir.
  12      Q     Okay. Let's talk now about the scene           12      Q     All right. I want to --
  13   investigation report which is also part of your         13      A     Thus, it's totally different from
  14   file, correct?                                          14   a --
  15      A     Yes, sir.                                      15      Q     I wanted to ask you a few questions
  16      Q     Okay. Tell me how the scene -- this            16   about some of the information that is contained
  17   is a document that's created by you?                    17   in the scene investigation report.
  18      A     Yes, sir.                                      18      You mentioned that you -- you also took
  19      Q     Okay. Tell me when in the process of           19   photographs of the scene, correct?
  20   your investigation this document would have             20      A     Yes, sir.
  21   been created.                                           21      Q     Okay. Do you look at the -- tell me
  22      A     When I get back to the office.                 22   this: When you're completing the scene
  23      Q     So it would have been created that             23   description, in that part of the scene
  24   morning?                                                24   investigation report, do you also review your
  25      A     More than likely. I would have to              25   photographs to assist you with that?



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   1   check the computer. But I believe it was.               1       A     Several times, yes, sir.
   2      Q     And is this -- in the terms of the             2       Q     Okay.
   3   scene description, is this like the narrative           3       A     But not all the time. But a lot of
   4   summary, where it's created based upon your             4    times.
   5   notes and also based upon your memory of the            5       Q     Okay. Do you have a recollection of
   6   scene?                                                  6    whether or not you would have reviewed the
   7      A     Yes, sir. And this is usually an               7    photographs for this?
   8   internal document that is not released out to           8       A     I don't know.
   9   the family. So it can't -- it won't -- like I           9       Q     I know that's a while ago.
  10   said, that day I was here for a while. So I             10      A     We download the photographs into the
  11   would have done that that day. But there are            11   computer system, so I have them right there, so
  12   occasions that we do them like that night when          12   I can look at them a lot.
  13   we return or later.                                     13      Q     Now you have -- you've got a copy of
  14      Q     Now, can you tell me this, because             14   you -- of the photographs that you took in
  15   this -- this scene description appears to have          15   front of you?
  16   more information than the narrative summary.            16      A     Yes, sir.
  17   Is there a reason for that?                             17      Q     All right. Now what I'm interested
  18      A     The narrative summary you don't put            18   in is in the scene description, coming down
  19   all the information in there. This is more for          19   kind of toward the -- toward the end of that
  20   the doctors to read, to give them more of the           20   last paragraph, it says, what appeared to be --
  21   story.                                                  21   do you see that part?
  22      You don't want to -- I personally do not             22      A     Yes, sir.
  23   want the family to remember certain aspects of          23      Q     Okay. What appeared to be several
  24   the scene, so I'm not going to put that in              24   prescriptions on the dresser were noted. Wait
  25   there, because it needs to be more generalized,         25   a minute. I'm sorry. Let me read it.




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   1      What appeared to be several prescriptions            1       A      Yes, sir.
   2   on a dresser were noted. The victim appeared            2       Q       All right.
   3   to have been prescribed Hydrocodone,                    3       A      Sorry.
   4   cyclobenzaprine, and Neurontin.                         4       Q       Are you able to tell me from looking
   5      Do you see that?                                     5    at these photographs which pill bottle the
   6      A   Yes, sir.                                        6    Neurontin was contained in?
   7      Q     Okay. In terms of this information,            7       A      The one that says courtesy refills,
   8   would this have been based upon your                    8    Eckerd on top, the big one.
   9   observations of the bedroom?                            9       Q       Okay. The big one that's --
  10      A   Well, yes. But we also collect the               10      A      Right there.
  11   medication at the scene.                                11      Q       -- kind of in the center of -- next
  12      Q     Okay. All right. And if, for                   12   to the cell phone?
  13   example -- and I assume that if -- we're going          13      A      It was between the cell phone and the
  14   to look at the photographs in a second. But I           14   watch.
  15   assume if you saw -- you know, you could see a          15      Q       So to the right of the cell phone.
  16   pill bottle that, you know, contained                   16   All right.
  17   medication and a pill bottle that did not               17      And how is it that you know that that's
  18   contain medication?                                     18   the bottle that contained Neurontin?
  19      A   Yes, sir.                                        19      A      Because you can see it on the pill
  20      Q     If you had a pill bottle, even though          20   bottle.
  21   on the outside it said that it was, for                 21             MR. SOH: You can see it on the what?
  22   example, hydrocodone, if it didn't contain any          22      A      You can see it on the pill bottle. I
  23   medication, would you note on your scene                23   see Neurontin all the time and plus I was
  24   description that there was hydrocodone at the           24   prescribed it in the past.
  25   scene?                                                  25   BY MR. EVANS:



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   1      A   I would still put that the pill                  1       Q       Okay. All right. So it's your
   2   bottle was there.                                       2    belief that bottle contains the Neurontin, the
   3      Q     Okay.                                          3    big pill bottle?
   4      A   But I would more than likely note                4       A      Yes, sir.
   5   that it was empty.                                      5       Q       Okay. Are you -- are you -- is that
   6      Q     Okay. All right. Now, looking at               6    something that you're certain of?
   7   the photographs -- and I've got a version of            7       A      I'm pretty sure of that because it
   8   photographs that actually has the number -- the         8    looks like you can see the writing right there
   9   numbers that were assigned that was part of the         9    on the capsule, Gabapentin, Neurontin.
  10   file. And I have the 04-1575-01. Yours may --           10             MR. SOH: Can I see your copy?
  11      A   That's fine.                                     11             MR. EVANS: His is a little clearer.
  12      Q     -- they may be a little clearer than           12             THE WITNESS: And here's another one
  13   mine. And I want to look first at                       13      that you can see. Do you see what I'm
  14   photographs 6 and 14. And I'm going to mark as          14      talking about?
  15   deposition Exhibit No. 4 photograph 6, and              15             MR. SOH: No.
  16   deposition Exhibit No. 5 photograph 14.                 16             THE WITNESS: Trust me on these
  17          (EXHIBIT NOS. 4 AND 5 WERE MARKED FOR            17      pills.
  18      IDENTIFICATION.)                                     18             MR. SOH: Okay. That's all right.
  19   BY MR. EVANS:                                           19      That's all right.
  20      Q     Now, looking at these two                      20             THE WITNESS: All right.
  21   photographs, there are a number of -- well,             21   BY MR. EVANS:
  22   fair to say there are a number of medication            22      Q       And can you tell me -- you said
  23   bottles on the dresser?                                 23   something about the collection of medications
  24      A   Uh-huh.                                          24   at the scene.
  25      Q     Yes?                                           25      Are you able to tell me one way or the




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   1   other whether or not there was a collection             1           MR. EVANS: I'm going to mark as
   2   made of the medications, the cyclobenzaprine,           2       Exhibit No. 6 photograph 5. It's the same
   3   the Hydrocodone, and Neurontin at the Smith             3       one.
   4   home?                                                   4           THE WITNESS: Here. You can see it
   5      A    Did I collect them?                             5       better.
   6      Q    Yes.                                            6           MR. SOH: That's all right. I have
   7      A    Yes.                                            7       seen it.
   8      Q    You did? Okay.                                  8           (EXHIBIT NO. 6 WAS MARKED FOR
   9      A    As best I remember.                             9       IDENTIFICATION.)
  10      Q    Okay. And why -- do you have a                  10   BY MR. EVANS:
  11   specific recollection of collecting the pill            11      Q    Does what I have marked as deposition
  12   bottles?                                                12   Exhibit No. 5, which is scene photograph number
  13      A    As best I remember, I collected them.           13   005, does that appear to be the suicide note
  14      Q    Okay. All right. And then what                  14   that you reference in your report?
  15   happens to the pill bottles once they're                15      A    Yes, sir.
  16   collected?                                              16   BY MR. EVANS:
  17      A    You transport them back here. We                17      Q    And you note here in this, also after
  18   usually use two forms, a medication log, which          18   kind of you -- you -- you recite what the note
  19   basically logs the medication that was there.           19   says. You said the victim reportedly had a
  20   And we have a medication list, which we put the         20   history of hip and knee replacement surgery.
  21   type of drug, when it was prescribed, how many          21      The victim was reportedly in chronic pain
  22   were left, who prescribed it, such like that.           22   and the victim reportedly discussed thoughts of
  23      Q    Okay.                                           23   suicide in March of 2004.
  24      A    So I probably didn't do that. And               24      Are you able to tell me specifically where
  25   the reason is because I couldn't find it,               25   that information came from?



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   1   because I noted it in my -- and I didn't think          1       A    More than likely -- well, definitely,
   2   since they looked in therapeutic range that it          2    the officers and detectives on the scene. Then
   3   was related to the death.                               3    when I talked to the wife, I would have either
   4      Q    Okay. All right. And you said that              4    confirmed or denied it real quick. Like I
   5   you -- you said you didn't do it because you            5    said, she was really distraught. So I might
   6   noted it where?                                         6    have just rushed real --
   7      A    In my senior investigation form.                7       Q    Okay. Okay. The last -- is there
   8      Q    Okay. And then what was the second              8    something else I wanted to talk to you about?
   9   thing you said about there appeared to be               9    Oh, yeah. The statement of opposition to
  10   therapeutic range?                                      10   autopsy.
  11      A    Yeah. There was pills in there. If              11      A    Is there one in the file?
  12   he had overdosed, he more than likely would             12      Q    There is one in the file. Give me --
  13   have took them all and not used what he did.            13   here it is. It's page 18 of deposition Exhibit
  14      Q    Okay. Because your concern with the             14   No. 1. And if you can't find it, I've got a
  15   medication at that time would have been whether         15   copy of it. And, actually --
  16   or not they were medications that were used to          16      A    To save time, we'll look at this one.
  17   facilitate the suicide?                                 17      Q    Who created this document; do you
  18      A    Yes. And, plus, you don't leave the             18   know?
  19   narcotics on the scene.                                 19      A    It's a blank document except for the
  20      Q    Okay. You also, in addition to that             20   wording and that's from us. And I believe
  21   note, you note that there is a -- that there            21   David Crowder had them put the opposition for
  22   was a suicide note.                                     22   autopsy.
  23      You note that in your scene report,                  23      Q    Okay. All right.
  24   correct?                                                24      A    Because he signed it at the bottom.
  25      A    Oh, yes, sir.                                   25   And that's --




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   1           MR. EVANS: Object to the form.                  1       Q    All right. Do you have any personal
   2      A    We knew about it, like the Vioxx or             2    knowledge of taking possession of the
   3   whatever, we could like of look forward to that         3    prescription medication that day?
   4   when that came out.                                     4       A   The best I remember I took it.
   5   BY MR. SOH:                                             5       Q    Okay. But there's no documentation
   6      Q     Okay. Oh, okay. You mentioned                  6    and there's no --
   7   Vioxx. Let's give you an example.                       7       A   Four years ago.
   8      So you're saying that if someone died of a           8       Q    What would happen to that medication?
   9   heart attack while taking Vioxx, you would              9    Would it be released back to the family or
  10   investigate whether or not Vioxx might have             10   would it be disposed of?
  11   caused that heart attack?                               11      A   We dispose of it here.
  12      A    If we found Vioxx, we would bring it            12      Q    Okay. But best of your recollection,
  13   back in and document it.                                13   you took it but there's no other documentation;
  14      Q     Okay. But you didn't do that in this           14   fair statement?
  15   case with the Smith Family and the Neurontin?           15      A   Fair statement.
  16      A    We did bring -- I did document the              16          MR. SOH: All right. I just wanted
  17   drug.                                                   17      to clear that up. You -- let me show you
  18      Q     That he was on Neurontin. But you              18      the police report real quick. I'm going
  19   didn't go and document any kind of scientific           19      to mark -- what's next? -- Exhibit 5 --
  20   literature or anything like that to maybe show          20          MR. EVANS: No. 7, I think.
  21   a link between Neurontin and suicide?                   21          MR. SOH: Mark the police report as
  22      A    No, sir.                                        22      Exhibit 7 to your deposition. This is
  23      Q     Okay. Let me ask you. I got a                  23      Detective Satterfield's supplemental
  24   little confused about your answers, and I just          24      report from the -- I'm sorry -- I'm just
  25   want to maybe try and make it clearer, okay?            25      noting that the --



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   1      Do you believe that you or the Medical               1           MR. EVANS: Are you just marking --
   2   Examiner's Office actually took possession of           2       are you marking the whole thing or just
   3   the prescription medication at Richard Smith's          3       his report? Because now you put that --
   4   home on the day of his suicide?                         4       yeah, okay.
   5      A    The best I would remember, yes.                 5           (EXHIBIT NO. 7 WAS MARKED FOR
   6      Q     Okay. But there is no documentation            6       IDENTIFICATION.)
   7   in your file or anywhere else in the Medical            7    BY MR. SOH:
   8   Examiner's Office that says there are three --          8       Q    All right. I'm going to be marking
   9   we took three bottles of Neurontin and there            9    Detective Satterfield's supplemental report
  10   were 18 pills left in there?                            10   from the Metropolitan Nashville Police
  11      A    No. I'm just going on standard                  11   Department on the Smith suicide. I want to
  12   protocol.                                               12   mark that exhibit.
  13      Q     Okay.                                          13      I just want -- I'm highlighting a couple
  14      A    But there are occasions when we have            14   sentences in there, okay. And just read that
  15   left them on the scene.                                 15   highlighted section.
  16      Q     Okay. But -- so you're saying that             16      A   Ms. Smith states that about one year
  17   standard protocol in the Medical Examiner's             17   ago the victim had hip and knee replacement
  18   Office would be that you would take possession          18   surgery and has been in constant pain since
  19   of all prescription medication at the scene?            19   that time. On 3/1/04 the victim mentioned to
  20      A    Yes, sir.                                       20   his daughter Cindy Smith that he might take his
  21      Q     But there's no paper trail or any              21   own life.
  22   other documents in your possession that showed          22      Q    That's virtually identical to your
  23   that you actually took possession or how many           23   narrative summary, isn't it?
  24   pills were left in those prescription bottles?          24      A   Do you mean in the report?
  25      A    No, sir.                                        25      Q    In the narrative summary from your




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